             Case 2:16-cr-00010-TLN Document 65 Filed 02/17/17 Page 1 of 4


 1   KELLY BABINEAU (CA State Bar #190418)
 2
     The Law Office of Kelly Babineau
     455 Capitol Mall, Suite 802
 3   Sacramento, CA 95814
     Tel:(916) 442-4948
 4
     Fax: (916) 492-2909
 5   kbabineau@klblawoffice.net
 6
     Attorney for STARSHEKA MIXON
 7

 8

 9
                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 16-CR-0010 MCE
                      Plaintiff,       )
12                                     ) STIPULATION AND
           v.                          ) ORDER
13
                                       ) TO CONTINUE STATUS CONFERENCE
14                                     ) UNDER SPEEDY TRIAL ACT
     DEENA CHAMBERS, and               )
15
     STARSHEKS MIXON                   ) Date: February 16, 2017
16                    Defendants.      ) Time: 9:00 a.m.
     __________________________________) Judge: Hon. Morrison C. England, Jr.
17

18                                      STIPULATION

19     1. By previous order, this matter was set for status on February 16, 2017.
20
       2. By this stipulation, defendants now move to continue the status conference until
21
          March 30, 2017, and to exclude time between February 16, 2017 and March 30,
22

23        2017, under Local Code T4.
24
       3. The parties agree and stipulate, and request that the Court find the following:
25
              a. The government produced over 25,000 pages of discovery associated with
26

27               this case, including tax returns, bank and credit card statements,
28               investigative reports and other documents. The government has also made


                                               -1-
     Case 2:16-cr-00010-TLN Document 65 Filed 02/17/17 Page 2 of 4


 1      electronic and physical evidence available for review.
 2
     b. Counsel for defendants need additional time to complete their review of
 3
        the discovery, conduct further investigation and discuss potential
 4

 5      resolutions with their clients. As the discovery is rather voluminous and
 6
        contains numerous records that require time to organize and review so that
 7
        they may be discussed in a coherent and logical manner. Ms. Babineau,
 8

 9      counsel for Ms. Mixon, has had to travel to the bay area to see her client to

10      review the discovery, as Ms. Mixon has transportation issues. As there is
11
        a protective order in place, the discovery must be reviewed with the client
12

13
        with defense counsel or someone from the defense team. This has taken a

14      little longer than anticipated.
15
     c. Counsel for defendants believe that failure to grant the above-requested
16
        continuance would deny counsel the reasonable time necessary for
17

18      effective preparation, taking into account the exercise of due diligence.
19   d. The government does not object to the continuance.
20
     e. Based upon the above-stated facts, the ends of justice served by continuing
21

22
        the case as requested outweigh the interest of the public and the defendant

23      in a trial within the original date prescribed by the Speedy Trial Act.
24
     f. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
25

26
        § 3161, et seq., within which trial must commence, the time period of

27      February 16, 2017, to March 30, 2017, inclusive, is deemed excludable
28
        pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code T4, because it


                                          -2-
     Case 2:16-cr-00010-TLN Document 65 Filed 02/17/17 Page 3 of 4


 1      results from a continuance granted by the Court at defendants’ request on
 2
        the basis of the Court’s finding that the ends of justice served by taking
 3
        such action outweigh the best interest of the public and the defendant in a
 4

 5      speedy trial.
 6
        THE REMAINDER OF THIS PAGE IS INTENTIONALLY BLANK
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                     -3-
             Case 2:16-cr-00010-TLN Document 65 Filed 02/17/17 Page 4 of 4


 1      4. Nothing in this stipulation and order shall preclude a finding that other provision
 2
           of the Speedy Trial Act dictate that additional time periods are excludable from
 3

 4
           the period within which a trial must commence.

 5   IT IS SO STIPULATED.
 6

 7
     Dated: February 14, 2017                         Respectfully submitted,
 8
                                                      /s/ Kelly Babineau
 9
                                                      KELLY BABINEAU
10                                                    Attorney for Starsheka Mixon
11

12   Dated: February 14, 2017                         /s/ Matthew Bockman
                                                      MATTHEW BOCKMON
13
                                                      Attorney for Deena Chambers
14

15   Dated: February 14, 2017                         /s/ Shelley D. Weger
16
                                                      SHELLEY D. WEGER
                                                      Assistant U.S. Attorney
17

18                                           ORDER
19         IT IS SO ORDERED.
20

21   Dated: February 16, 2017
22

23

24

25

26

27

28




                                                -4-
